     Fill in thisCase
                  Case23-12021-JDW
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                  information                     Doc
                              to identify your case:Doc1-1
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                                                       Voluntary Petition Page 1 of 4
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     United States Bankruptcy Court for the:

     Northern District of Mississippi
     ____________________  District of _________________
                                       (State)
                              23-12021
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
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QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



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                                                     Managing Member
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                                          8 /s/ Randall R. Saxton
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                                              Randall R. Saxton
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                                              3ULQWHGQDPH
                                              Saxton Law, PLLC
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                                              )LUPQDPH
                                              986 Madison Ave.
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                                              1XPEHU    6WUHHW
                                              Madison                                                           MS              39110
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                                              &LW\                                                 6WDWH        =,3&RGH

                                              (601) 790-0529
                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                             randall@saxton.law
                                                                                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                       Voluntary PetitionPage 2 of52of 6
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                             United States Bankruptcy Court
                             Southern District of Mississippi




         Cotton & Tumbleweeds Llc
In re:                                                          Case No. 23-01471

                                                                Chapter   7
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              06/13/2023                        /s/ Summer Starnes
Date:
                                                Signature of ,QGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU

                                                Owner
                                                3RVLWLRQRUUHODWLRQVKLSWRGHEWRU
Case 23-12021-JDW
  Case 23-12021-JDWDoc 1 1Filed
                     Doc        07/06/23
                             Filed 07/06/23Entered
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                       Voluntary PetitionPage 1 of62of 6
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Can Capital
1850 Parkway Place
Suite 1150
Marietta, GA 30067

Faire Wholesale Inc
100 Potrero Ave
San Francisco, CA
94103

SBA C/O U.S. Attorney
501 E Court St.
Ste 4
Jackson, MS 39201-5022

Sba Eidl Disaster Loan
Servicing Center
2 North 20th St
Suite 320
Birmingham , AL 35203

Square Financial
Services Inc
3165 East Milrock
Drive
Suite 160
Salt Lake City, UT
84121

U.S. Small Business
Administration
Office of General
Counsel
312 North Spring
Street, 5th Floor
Los Angeles, CA 90012
